Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 1 of 15




                     EXHIBIT A
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 2 of 15


                                                                      Page 1


      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      - - - - - - - - - - - - - - - - - - - - x
      VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                            Case No.:
           -against-                        15-cv-07433-RWS

      GHISLAINE MAXWELL,

                   Defendants.

      - - - - - - - - - - - - - - - - - - - - x

                            **CONFIDENTIAL**

                  Videotaped deposition of GHISLAINE
             MAXWELL, taken pursuant to subpoena, was
             held at the law offices of BOIES
             SCHILLER & FLEXNER, 575 Lexington
             Avenue, New York, New York, commencing
             April 22, 2016, 9:04 a.m., on the above
             date, before Leslie Fagin, a Court
             Reporter and Notary Public in the State
             of New York.

                            - - -
                  MAGNA LEGAL SERVICES
              1200 Avenue of the Americas
               New York, New York 10026




                   MAGNA&      LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 3 of 15


                                                                  Page 272
 1                G Maxwell - Confidential
 2
 3
 4    -
              Q.     Is it your testimony that
                                                    -
                   knows Jeffrey Epstein through the work
      that she does for you?
 5                   MR. PAGLIUCA:     Objection to the
 6            form and foundation.
 7            A.     I don't recollect, and I don't
 8
 9
10
      to what
      Jeffrey.
                 -
      recollect how I met


               -
                                       and I can't testify
                           relationship is or is not with


11           Q.      Have you ever talked to Jeffrey
12
13
14
      about
              -
             A.
             Q.
                     I don't know what you mean.
                     In any way, have you ever had a
15    conversation with Jeffrey about
16           A.      In what context.
17           Q.      In any context.     Have you ever
18    talked to Jeffrey Epstein about
19
20
21
             A.
                     -    works for me so it's entirely
      possible that in the course of conversations
      since 2002, 2003 that a conversation in which
22
23
24
      -
      possible.
             Q.
                   name would have come up is entirely


                     I provided you with and I'm sorry,
25    I don't know all the numbers, but the




                      MAGNA&   LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 4 of 15


                                                                  Page 273
 1                G Maxwell - Confidential
 2    statement that was issued by Ross Gow that
 3    should be a single page still in your stack
 4    of exhibits there.
 5                  MR. PAGLIUCA:     Exhibit 10.
 6           Q.     Did you authorize Ross Gow to issue
 7    that statement on your behalf in January of
 8    2015?
 9           A.     I already testified that that was
10    done by my lawyers.
11           Q.     So did you authorize your lawyers
12    to issue a statement on your behalf through
13    Ross Gow in January of 2015?
14           A.     It was determined that I had to
15    make a statement in the United Kingdom
16    because of the appalling lies and I just
17    thought of some new ones.
18                  Virginia's statement that I
19    celebrated her 16 birthday with her.             We can
20    all agree that that's entirely impossible.              I
21    didn't meet her until she was 17 and other
22    lies she perpetrated that she had a diary and
23    we all know is a complete fake.           That's not a
24    diary.      It was just a book she was writing
25    that you helped sell to the press, as if it




                     MAGNA&    LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 5 of 15


                                                                  Page 274
 1                G Maxwell - Confidential
 2    was a diary, when it was just a story that
 3    she is writing of fiction, fictional story
 4    for money.
 5            Q.    How did you arrive at the words
 6    that were put in that statement?
 7                  MR. PAGLIUCA:     I'm going to object
 8            and instruct you to the extent this
 9            calls for any privileged communications
10           between yourself and Mr. Barden or
11           another lawyer representing you, we're
12           asserting privilege.        If you can answer
13           that without that, feel free to answer.
14           Q.     So what your counsel is saying, and
15    I will exclude any privileged communications
16    you had with your lawyers.
17                  The question is, how did you arrive
18    at the words that were put in that statement,
19    if you can tell me without disclosing
20    privileged communications?
21           A.     I'm not sure that I can.
22           Q.     Is the statement that you issued
23    true?
24           A.     What do you mean by that?
25           Q.     Is the statement that you issued,




                     MAGNA&    LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 6 of 15


                                                                  Page 337
 1                G Maxwell - Confidential
 2           Q.     To become pregnant, did you or
 3    Jeffrey Epstein ever ask any female to become
 4    pregnant and carry Jeffrey Epstein's baby for
 5    you or for Jeffrey?
 6                  MR. PAGLIUCA:     Objection to form
 7           and foundation.
 8           A.     You need to be very specific.         I
 9    have no idea what you are talking about.
10    That's completely rubbish.
11           Q.     Did you or Jeffrey Epstein ask any
12    female to become pregnant and carry his baby
13    for either him or you?
14                  MR. PAGLIUCA:     Objection to the
15           form and foundation.        Go ahead.
16           A.     I can't testify to anything Jeffrey
17    did or didn't do when I am not present, but I
18    have never asked anybody to carry a baby for
19    me.
20           Q.     Or anything along those lines?
21                  MR. PAGLIUCA:     Object to the form
22           and foundation.
23           Q.     I want to make sure we are talking
24    about the same thing, not physically carry a
25    baby, I mean become pregnant with a baby?




                     MAGNA&    LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 7 of 15


                                                                  Page 338
 1                G Maxwell - Confidential
 2                  MR. PAGLIUCA:     Objection to the
 3         form and foundation.
 4           Q.     I want to make sure we are clear.
 5           A.     I don't know what you are asking.
 6           Q.     That's why I want to make sure we
 7    are clear.
 8           A.     We are clear.     I never asked
 9    anybody to carry a baby for me.
10           Q.     Do you know if Jeffrey ever asked
11    anybody to carry a baby for him?
12           A.     I'm not going to characterize any
13    conversation Jeffrey had with somebody else.
14           Q.     You are not aware of that, is that
15    your testimony?
16           A.     I am testifying I never have and I
17    will not testify for anything for Jeffrey.
18           Q.     Did you ever hear Jeffrey ask
19    anybody to carry a baby for him?
20           A.     I don't recollect conversation
21    about Jeffrey and babies in any form.
22           Q.     Did Jeffrey ever tell he wanted to
23    have a baby?
24           A.     I don't recollect baby
25    conversations with Jeffrey.




                     MAGNA&    LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 8 of 15


                                                                  Page 339
 1                G Maxwell - Confidential
 2           Q.     So he never told you he wanted to
 3    have a baby?
 4           A.     I don't recollect any baby
 5    conversations with him saying he wanted to
 6    have a baby.
 7           Q.     Did you ever bring any females to
 8    the Dubin's house that were not your friends'
 9    children that were under the age of 18?
10                  MR. PAGLIUCA:     Objection to form
11           and foundation.
12           A.     I have never, to my knowledge,
13    brought anybody under the age of 18 that's
14    not a friend of my family or my nieces or
15    nephews to the Dubin household.
16           Q.     Earlier today you testified, I
17    believe, that with respect to your town home
18    Jeffrey paid for some of that and then gave
19    you a loan, is that correct?
20                  MR. PAGLIUCA:     Objection to the
21           form and foundation.
22           A.     I said, actually I think it was a
23    loan, I believe it was a loan.
24           Q.     The whole thing?
25           A.     As best as I can recollect.




                     MAGNA&    LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 9 of 15


                                                                  Page 360
 1                G Maxwell - Confidential
 2                  MR. PAGLIUCA:     Objection to the
 3            form and foundation.
 4            A.    I was not coordinating with
 5    Jeffrey.      He had details that I did not have.
 6    I was not party to his case.          I needed to
 7    have information in order to be able to
 8    respond so I was not coordinating with him.
 9    I was merely asking for details that I could
10    have.
11           Q.     Did Jeffrey write any of your press
12    statements for you?
13           A.     No.
14           Q.     He didn't draft any of them?
15           A.     I have a lawyer who was working on
16    this and that was -- I asked, I believe as I
17    recollect asked him for information to make
18    sure I was being accurate in the
19    representations for whatever I was
20    discussing.
21           Q.     Did Jeffrey provide you with any
22    drafts of statements to provide to the press?
23           A.     I only recall drafts from my
24    lawyer.
25           Q.     I will mark this as Maxwell 17.




                     MAGNA&    LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 10 of 15


                                                                  Page 361
  1                G Maxwell - Confidential
  2                  (Maxwell Exhibit 17, email, marked
  3           for identification.)
  4           Q.     This is an email from you on
  5    January 10, 2015 to Philip Barden and Ross
  6    Gow.    The statement you had before you
  7    earlier, that, if you can pull that in front
  8    of you, the one page press release that you
  9    gave.       You might know from memory.
 10                  Was the press release that you
 11    issued with the statement about Virginia
 12    issued in or around January 2, 2015?
 13           A.     As best as I can recollect.
 14           Q.     I want to turn your attention to
 15    the document I just handed you which is Bates
 16    No. 001044, from you to Philip Barden and
 17    Ross Gow.      It says in the first sentence, I'm
 18    out of my depth to understand defamation,
 19    other legal hazards and I don't want to end
 20    up in a lawsuit aimed at me from anyone, if I
 21    can help it.      Apparently, even saying
 22    Virginia is a liar has hazards.
 23                  You knew at the time you called
 24    Virginia a liar in early January of 2015 that
 25    that was something that would result in a




                      MAGNA&    LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 11 of 15


                                                                  Page 362
  1               G Maxwell - Confidential
  2    lawsuit, is that correct?
  3                 MR. PAGLIUCA:      Objection to the
  4          form and foundation.
  5          A.     I have legal advice that I took.
  6          Q.     But you knew in early January by
  7    making a statement calling Virginia a liar
  8    that you were subjecting yourself to a legal
  9    dispute with her?
 10                 MR. PAGLIUCA:      Objection to the
 11          form and foundation.
 12          A.     I took legal advice as to what
 13    should be said and not be said and the legal
 14    advice that came from the United Kingdom
 15    was --
 16                 MR. PAGLIUCA:      You are not allowed
 17          to talk about any legal advice that you
 18          got from anybody that's a lawyer.
 19          A.     Sorry.
 20          Q.     So is it correct without telling me
 21    what you talked to your lawyers about that
 22    you knew because this is dated January 10
 23    that when you made this statement in early
 24    January, January 2 of 2015 you knew that
 25    calling Virginia a liar would subject you to




                     MAGNA&     LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 12 of 15


                                                                  Page 363
  1                G Maxwell - Confidential
  2    a legal action, isn't that correct?
  3                  MR. PAGLIUCA:     Objection to the
  4           form and foundation.       As to what you
  5           knew -- whatever she knows would be
  6           privileged.
  7                  MS. McCAWLEY:     I'm asking if she
  8           knows.    I'm not asking her to tell me
  9           about her privileged communications.
 10           A.     All I can say is I asked a question
 11    and received legal advice.
 12                   (Maxwell Exhibit 18, email, marked
 13           for identification.)
 14           Q.     This is an email dated January 15,
 15    2015 from Jeffrey Epstein to you?
 16           A.     Uh-huh.
 17           Q.     It states in the first line, do you
 18
 19
 20
       want
              -         to come out and say she was the
       girlfriend during the time?
                     MR. PAGLIUCA:     Objection to the
 21           form and foundation of the question and
 22           actually the word is                    , there
 23           is no vowel in there.
 24                  MS. McCAWLEY:     I was just trying to
 25           pronounce it.




                      MAGNA&    LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 13 of 15


                                                                  Page 392
  1               G Maxwell - Confidential
  2    This will now end?
  3                 MR. PAGLIUCA:      Objection to the
  4          form and foundation.
  5          A.     I have no idea.
  6          Q.     Did you discuss with him what he
  7    meant by the statement, This will now end?
  8          A.     I don't recall.
  9          Q.     Was he taking any action to ensure
 10    that, quote, this will now end?
 11          A.     I have no idea.
 12                 (Maxwell Exhibit 23, email, marked
 13          for identification.)
 14          Q.     This is an email from, if you look
 15    at the chain at the top, you will see it's
 16    from you to Jeffrey on January 27 and the
 17    email at the bottom of the chain is from
 18    Jeffrey to you on January 27.
 19                 He states, What happened to you and
 20    your statement, question mark, question mark.
 21    And you put at the top, I have not decided
 22    what to do.
 23          A.     Uh-huh.
 24          Q.     Why was Jeffrey interested in you
 25    making a statement to the press?




                     MAGNA&     LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 14 of 15


                                                                  Page 393
  1               G Maxwell - Confidential
  2                 MR. PAGLIUCA:      Objection to the
  3          form and foundation.
  4          A.     I don't know that he was
  5    interested.     We made a statement and then I
  6    was being advised to make an additional
  7    statement and I never did.
  8          Q.     Was Jeffrey communicating with you
  9    regularly on what additional statement you
 10    might make?
 11                 MR. PAGLIUCA:      Objection to the
 12          form and foundation.
 13          A.     No, I've communicated with him very
 14    little, as little as possible.
 15          Q.     Why did you feel you had to keep
 16    him informed of statements you were making to
 17    the press?
 18                 MR. PAGLIUCA:      Objection to the
 19          form and foundation.
 20          A.     I didn't feel I had to.
 21          Q.     Then why you were communicating
 22    with him about statements you were making to
 23    the press?
 24                 MR. PAGLIUCA:      Objection to the
 25          form and foundation.




                     MAGNA&     LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-19 Filed 01/05/24 Page 15 of 15


                                                                  Page 394
  1               G Maxwell - Confidential
  2          A.     Insofar as this is the case, it's
  3    really all about Jeffrey, it's not a case
  4    about me.
  5          Q.     In 2009, did you direct your
  6    lawyer, either directly or indirectly, to
  7    tell Brad Edwards that you were unavailable
  8    to attend a deposition?
  9                 MR. PAGLIUCA:      Objection to the
 10          form and foundation.        And this is a
 11          privileged communication as I understand
 12          the question, what someone said or
 13          didn't say to their lawyer.          So don't
 14          answer the question.
 15          Q.     Can you answer that question
 16    without revealing a privileged communication?
 17          A.     Can you ask the question again?
 18          Q.     In 2009, did you direct your lawyer
 19    to tell Brad Edwards that you were
 20    unavailable to attend a deposition?
 21                 MR. PAGLIUCA:      Same instruction.
 22          Q.     Did you make any statement in 2009
 23    to anybody that you were unavailable to
 24    attend a deposition?
 25          A.     My mother was sick and I don't




                     MAGNA&     LEGAL SERVICES
